Case 19-52039-jrs        Doc 22      Filed 03/12/19 Entered 03/12/19 08:03:07            Desc Main
                                     Document      Page 1 of 6




  IT IS ORDERED as set forth below:



  Date: March 11, 2019
                                                          _____________________________________
                                                                      James R. Sacca
                                                                U.S. Bankruptcy Court Judge

  _______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                               )        CHAPTER 13
                                                      )
 MICHAEL GENE JACKSON,                                )        CASE NO. 19-52039-JRS
                                                      )
          Debtor.                                     )

              ORDER ON MOTION TO EXTEND THE AUTOMATIC STAY

        On February 7, 2019, Debtor filed a “Motion to Extend the Automatic Stay” (Doc. No. 9)

(“Motion”), requesting to extend the automatic stay provided by 11 U.S.C. § 362 beyond the period

of thirty (30) days against all creditors, and set it for hearing on February 26, 2019. Counsel

contends service was proper on all interested parties. No appearances were made by any other

party in interest. By default, therefore, it is hereby

        ORDERED that Debtor’s “Motion to Extend the Automatic Stay” is GRANTED: the

stay as provided by 11 U.S.C. § 362 is hereby extended upon all creditors until further order of

this Court or until the stay terminates by statute.

                                      [END OF DOCUMENT]
Case 19-52039-jrs     Doc 22     Filed 03/12/19 Entered 03/12/19 08:03:07   Desc Main
                                 Document      Page 2 of 6




Prepared by:
      /s/
M. Chase McCallum
GA Bar No.: 173048
The Semrad Law Firm, LLC
303 Perimeter Center North
Suite 201
Atlanta, Georgia 30346
Attorney for the Debtor


No Opposition:

       /s/   (with express permission)
Maria C. Joyner, Attorney for
Nancy J. Whaley
Georgia Bar No.: 118350
303 Peachtree Center Ave.
Suite 120
Atlanta, GA 30303
Chapter 13 Trustee
Case 19-52039-jrs   Doc 22    Filed 03/12/19 Entered 03/12/19 08:03:07   Desc Main
                              Document      Page 3 of 6




                                DISTRIBUTION LIST

                                 M. Chase McCallum
                             The Semrad Law Firm, LLC
                         303 Perimeter Center North, Ste. 201
                                 Atlanta, GA 30346

                                   Nancy J. Whaley
                              Standing Chapter 13 Trustee
                                       Suite 120
                               303 Peachtree Center Ave.
                                   Atlanta GA 30303

                                 Michael Gene Jackson
                                 2904 Chesterfield Way
                                   Coyers, GA 30013

                      Professional Financial Services of GA, LLC
                                     P.O. Box 1983
                                Spartanburg, SC 29304

                      Professional Financial Services of GA, LLC
                                     P.O. Box 811
                             Spartanburg, SC 29304-0811

                      Professional Financial Services of GA, LLC
                         c/o C T Corporation System, Reg. Ag.
                                  289 S Culver Street
                            Lawrenceville, GA 30046-4805

                                Internal Revenue Service
                                 Centralized Insolvency
                                      PO Box 7346
                                 Philadelphia, PA 19101

                                     Tax Division
                               U.S. Department of Justice
                             Attn: Chief, Civil Trial Section
                                    SouthernRegion
                             950 Pennsylvania Avenue, NW
                              Washington, DC 20530-0001
Case 19-52039-jrs   Doc 22     Filed 03/12/19 Entered 03/12/19 08:03:07   Desc Main
                               Document      Page 4 of 6


                                Internal Revenue Service
                                    c/o John Koskinen
                                   IRS Commissioner
                             1111 Constitution Avenue, NW
                                 Washington, DC 20224

                             United States Attorney’s Office
                                 Civil Processing Clerk
                             Richard B. Russell Federal Bldg.
                             75 Ted Turner Dr., SW, Ste. 600
                                   Atlanta, GA 30303

                                 Internal Revenue Service
                               c/o Angela Denise Anderson
                              401 W. Peachtree Street, N.W.
                                   RM. 1665 Stop 334-D
                                 Atlanta, GA 30308-3539

                              U.S. Attorney’s Office, NDGA
                                  Clerk of Civil Process
                             Richard B. Russell Federal Bldg.
                             75 Ted Turner Dr., SW, Ste. 600
                                 Atlanta, GA 30303-3309

                             Special Assistant U.S. Attorney
                              401 W. Peachtree Street, NW
                                Stop 1000-D, Suite 600
                                   Atlanta, GA 30308

                             Richard B. Russell Federal Bldg
                                    c/o Byung J. Pak
                                    U.S. NDGA Atty
                             75 Ted Turner Dr, S.W, Ste 600
                                Atlanta, GA 30303-3309

                                  U.S. Dept. of Justice
                                Office of the Atty General
                                   Attn: William Barr
                                 950 Pennsylvania Ave.
                                 Washington, DC 20530

                                Internal Revenue Service
                                      PO Box 7313
                              Philadelphia, PA 19101-7317

                      (See attached additional creditors served)
Label Matrix for Case    19-52039-jrs
                  local noticing               Doc 22AshleyFiled  03/12/19
                                                             Funding Services LLC Entered    03/12/19
                                                                                  c/o Resurgent Ca    08:03:07
                                                                                                       Ashley FundingDesc   Main
                                                                                                                      Services, LLC
113E-1                                                     Document
                                                     PO Box 10587             Page    5  of 6          Resurgent Capital Services
Case 19-52039-jrs                                     Greenville, SC 29603-0587                         PO Box 10587
Northern District of Georgia                                                                            Greenville, SC 29603-0587
Atlanta
Thu Mar 7 13:14:30 EST 2019
Andrea Lynn Betts                                     (p)CAPITAL ONE                                    CREDIT ONE BANK NA
RAS Crane, LLC                                        PO BOX 30285                                      PO BOX 98875
Suite 170                                             SALT LAKE CITY UT 84130-0285                      LAS VEGAS, NV 89193-8875
10700 Abbotts Bridge Road
Duluth, GA 30097-8461

Department of Justice, Tax Division                   Ditech Financial LLC                              First Premier Bank
75 Ted Turner Drive SW                                PO Box 6154                                       3820 N Louise Ave
Civil Trial Section, Southern                         Rapid City, SD 57709-6154                         Sioux Falls, SD 57107-0145
Atlanta, GA 30303-3315


(p)GEORGIA DEPARTMENT OF REVENUE                      Internal Revenue Service                          Internal Revenue Service - Atl
COMPLIANCE DIVISION                                   PO Box 7346                                       401 West Peachtree St NW Room 1665
ARCS BANKRUPTCY                                       Philadelphia, PA 19101-7346                       ATTN: Ella Johnson, M/S 334-D
1800 CENTURY BLVD NE SUITE 9100                                                                         Atlanta, GA 30308
ATLANTA GA 30345-3202

A. Michelle Hart Ippoliti                             Michael Gene Jackson                              Jackson, Keevia
McCalla Raymer Leibert Pierce, LLC                    2904 Chesterfield Way                             2044 Appaloosa Way
1544 Old Alabama Road                                 Conyers, GA 30013-2486                            Conyers, GA 30012-5101
Roswell, GA 30076-2102


Michael John Chase McCallum                           Office of the Attorney General - Atlanta          Office of the United States Trustee
The Semrad Firm, LLC                                  40 Capitol Sq Sw                                  75 Ted Turner Dr Sw
Suite 201                                             Attn: Karrollanne K. Cayce                        Atlanta, GA 30303-3315
303 Perimeter Center North                            Atlanta, GA 30334-9057
Atlanta, GA 30346-3425

Padgett Law Group                                     (p)PORTFOLIO RECOVERY ASSOCIATES LLC              Professional Financial Services of GA, LLC
3490 Piedmont Road NE Suite 1060                      PO BOX 41067                                      PO Box 1983
Atlanta, GA 30305-4813                                NORFOLK VA 23541-1067                             Spartanburg, SC 29304-1983



RECEIVABLE MANAGEMENT                                 Willie Bruce Smith                                Special Assistant U.S. Attorney
2250 E Devon Ave Ste 245                              The Semrad Law Firm, LLC                          401 W. Peachtree Street, NW, STOP 1000-D
Des Plaines, IL 60018-4518                            303 Perimeter Center North                        Atlanta, GA 30308
                                                      Suite 201
                                                      Atlanta, GA 30346-3425

SunTrust Bank                                         SunTrust Bank                                     United States Attorney
ATTN: Bankruptcy Department                           Attn: Support Services                            Northern District of Georgia
PO Box 85092                                          P.O. Box 85092                                    75 Ted Turner Drive SW, Suite 600
Richmond, VA 23285-5092                               Richmond, VA 23286-0001                           Atlanta GA 30303-3309


Westchester Lakes Homeowners Association, In          Nancy J. Whaley
2500 Westchester Way Se                               Nancy J. Whaley, Standing Ch. 13 Trustee
ATTN: Treasurer                                       303 Peachtree Center Avenue
Conyers, GA 30013-6448                                Suite 120, Suntrust Garden Plaza
                                                      Atlanta, GA 30303-1216
                Case 19-52039-jrs           Doc 22       Filed 03/12/19 Entered 03/12/19 08:03:07                      Desc Main
                                                         Document      Page 6 of 6
                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CAPITAL ONE BANK USA N                               Georgia Department of Revenue                        Portfolio Recovery Associates, LLC
PO BOX 85520                                         1800 Century Boulevard                               Po Box 41067
RICHMOND, VA 23285                                   c/o T Truong                                         Norfolk, VA 23541
                                                     Atlanta, GA 30345




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Ditech Financial LLC                              End of Label Matrix
                                                     Mailable recipients    28
                                                     Bypassed recipients     1
                                                     Total                  29
